
USCA1 Opinion

	










          September 18, 1995    [NOT FOR PUBLICATION]
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT


                                 ____________________

          No. 94-1502

                                    UNITED STATES,
                                      Appellee,

                                          v.

                                    JAIME CATANO,
                                Defendant - Appellant.

                                 ____________________

          No. 94-1503

                                    UNITED STATES,
                                      Appellee,

                                          v.

                                   MICHAEL MURRAY,
                                Defendant - Appellant.

                                 ____________________

          No. 94-1504

                                    UNITED STATES,
                                      Appellee,

                                          v.

                                    LEONEL CATANO,
                                Defendant - Appellant.

                                 ____________________

          No. 94-1505

                                    UNITED STATES,
                                      Appellee,

                                          v.

                                    JAMES MURRAY,
                                Defendant - Appellant.

                                 ____________________














                    APPEALS FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                     [Hon. William G. Young, U.S. District Judge]
                                             ___________________

                                 ____________________

                                        Before

                                Stahl, Circuit Judge,
                                       _____________

                           Campbell, Senior Circuit Judge,
                                     ____________________

                      and John R. Gibson,* Senior Circuit Judge.
                                           ____________________

                                _____________________

               William A. Brown, by Appointment of the Court, for appellant
               ________________
          Jaime Catano.
               Daniel J. O'Connell III for appellant Michael Murray.
               _______________________
               Robert  L.  Sheketoff, with  whom Sheketoff  &amp; Homan  was on
               _____________________             __________________
          brief for appellant Leonel Catano.
               Steven  J. Brooks, with whom James P. Duggan, by Appointment
               _________________            _______________
          of the Court, was on brief for appellant James Murray.
               George W. Vien, Assistant United States, with whom Donald K.
               ______________                                     _________
          Stern, United States Attorney,  and Geoffrey E. Hobert, Assistant
          _____                               __________________
          United States Attorney, were on brief for appellee.



                                 ____________________


                                 ____________________
















                              
          ____________________

          *  Of the Eighth Circuit, sitting by designation.














                    JOHN R. GIBSON, Senior Circuit Judge.  This unpublished
                    JOHN R. GIBSON, Senior Circuit Judge.
                                    ____________________

          portion of our opinion disposes of those issues which do not have

          sufficient precedential value to warrant publication.  Therefore,

          we incorporate by reference  the statement of the case  and facts

          from the published portion of  our opinion of the same date.   We

          here discuss and  affirm the  rulings of the  district court  in:

          (1) denying James Murray's  suppression motion; (2) denying Jaime

          Catano's motion for severance;  (3) denying Jaime Catano's motion

          to participate  in Michael  Murray's omnibus motion  hearing; (4)

          managing the use of peremptory challenges; (5) refusing to define

          reasonable  doubt;  (6)  convicting  Jaime  Catano of  continuing

          criminal enterprise; and (7)  refusing to adjust Michael Murray's

          sentence for acceptance of responsibility or to depart downward.

                        I.  JAMES MURRAY'S SUPPRESSION MOTION
                        I.  JAMES MURRAY'S SUPPRESSION MOTION
                            _________________________________

                    James Murray  argues that  the district court  erred in

          denying  his  motion  to   suppress  evidence  police  seized  in

          warrantless searches of  James Murray's pickup truck and  a Buick

          James Murray had rented.   When the agents arrested  James Murray

          on November 6, 1991, they seized keys to the rented  Buick and to

          the pickup truck.  The  Buick was parked at the hotel  where they

          had arrested  James Murray.  The  pickup was in a  parking lot of

          the  Dallas-Ft.  Worth airport.    The agents  had  both vehicles

          searched.  In  the Buick, they found a  rental agreement in James

          Murray's name,  $2,350 in  cash, a  Smith  Corona typewriter  and






                                         -3-














          twelve telephone books from the Southeastern United States.1   In

          the  pickup, they found $100,000 cash behind  the seat.  After an

          evidentiary  hearing,  the district  court denied  James Murray's

          motion to suppress  the evidence  seized from the  Buick and  the

          pickup.

                    James  Murray  argues   that  the  government   had  to

          establish  both  probable  cause  and  exigent  circumstances  to

          justify  the warrantless search of these vehicles, but in this he

          is  mistaken.   Under  the  automobile  exception to  the  search

          warrant requirement, if a  motor vehicle is in transit  or parked

          in  a public  place,  police may  search  it without  a  warrant,

          relying  solely on probable cause.   United States  v. McCoy, 977
                                               _____________     _____

          F.2d 706, 710 (1st  Cir. 1992); United States v. Panitz, 907 F.2d
                                          _____________    ______

          1267, 1271-72 (1st Cir. 1990).

                    James Murray  argues that  there was not  even probable

          cause, because the agents'  suspicions were based on the  word of

          Roberto L pez, whom the agents knew to be unreliable.

                    The  agents had  "probable cause"  for the  searches if

          they  had facts  to support a  "well-founded conclusion  'that an

          offense has been committed and . . . sound reason to believe that

          a particular search will turn up  evidence of it.'"  Panitz,  907
                                                               ______

          F.2d at 1271 (internal quotation marks and citation omitted).  We

          review  a  district  court's  finding  of  probable  cause  on  a

                              
          ____________________

          1   The typewriter  and telephone books are  relevant in light of
          Michael  Murray's comments  in  a video  taped conversation  with
          other  conspirators that  he would  make bills  of lading  with a
          typewriter. 

                                         -4-














          suppression  motion for clear error.  United States v. Zapata, 18
                                                _____________    ______

          F.3d 971, 975 (1st Cir. 1994).

                    Contrary to James Murray's contention, the government's

          probable cause does not depend on the word of L pez, but on taped

          conversations  among the  conspirators  and observations  of  the

          conspirators' actions  after the  conversations.  From  the audio

          tape supplied by  Nigro, the government  knew Michael Murray  was

          expecting  to   obtain  marijuana   from  "Mexicans,"   that  the

          conspirators  were going to Texas for that purpose, and that they

          would  have  money to  finance  the  purchase and  transportation

          costs.   Shortly  before  Leonel Catano  and  L pez left  in  the

          tractor-trailer for  Texas, the DEA  overheard their conversation

          with  the Murrays,  in  which they  coordinated their  respective

          duties for the upcoming trip.

                    By the time they  searched James Murray's vehicles, the

          DEA agents  had seen the conspirators  take a number of  steps in

          accordance  with  the   plans  laid  out  in  this   video  taped

          conversation.   In  the  tape,  the group  agreed  to go  to  the

          "crane," and  they later went to  a crane yard, where  they put a

          steel tank on their trailer.  (There was evidence that  the group

          had used that tank before to  transport marijuana.)  In the  tape

          Michael Murray said that he would get  money and Leonel should go

          to a truck stop; later that day, aerial surveillance agents saw a

          parked  sedan (such  as  Michael  Murray  was  driving)  next  to

          Leonel's truck in the truck area of a highway rest stop.  The car

          and truck left the rest stop at the same time.  In the video tape


                                         -5-














          Michael Murray said that James Murray would "go and he's going to

          have  money to pay the other transportation people up in Dallas;"

          three days later, James Murray  showed up in McAllen, Texas in  a

          car  rented at  the  Dallas-Fort Worth  airport.   In  the  taped

          conversation  Michael  Murray  had  instructed  L pez  and Leonel

          Catano  to "go  to  Dallas, drop  the  box  then just  come,  ah,

          bobtail."  Leonel Catano and  L pez did in fact drop  the trailer

          off in Luling and "bobtail" to McAllen.

                    From the  taped conversation and subsequent  actions of

          the  parties to  that conversation,  the government  had probable

          cause to believe  that James Murray was  involved in a scheme  to

          buy marijuana in south Texas and transport it north, and that  he

          would be carrying a  significant amount of money  to pay for  the

          transportation  costs.  His rental car and his truck were logical

          places  to look for the money.  The district court did not err in

          finding probable cause,  or in denying  James Murray's motion  to

          suppress.

                       II.  JAIME CATANO'S MOTION FOR SEVERANCE
                       II.  JAIME CATANO'S MOTION FOR SEVERANCE
                            ___________________________________

                    Jaime Catano  argues that  the district court  erred in

          denying  his  motion  to  sever.   Jaime  Catano's  argument  for

          severance is lumped together  with his argument for participation

          in Michael Murray's omnibus hearing and reads, in its entirety:

                      [I]t was error for  the District Court to
                      deny  Jaime  Catano's  Motion  to  Sever.
                      Michael Murray had cooperated extensively
                      with the  government.   There was no  way
                      Jaime Catano's counsel  could know  that,
                      in  a  joint  trial, the  source  of  the
                      government's evidence against him was co-


                                         -6-














                      defendant  Michael Murray.  See Bruton v.
                                                  ___ _________
                      U.S., 391 U.S. 123 (1968).
                      ____

                    Denial of a motion  for severance is "committed  to the

          sound discretion of  the trial court,  and we review  only for  a

          manifest  abuse  of  discretion  resulting in  a  miscarriage  of

          justice."  United States  v. Welch, 15 F.3d 1202, 1210  (1st Cir.
                     _____________     _____

          1993),  cert.  denied,  114  S.  Ct.  1661  (1994).    To  obtain
                  _____________

          severance,  a defendant must  show that  "'substantial prejudice'

          would result  from  a  joint trial."    Id.  (citation  omitted).
                                                  ___

          Prejudice in  this  context requires  "more  than just  a  better

          chance  of  acquittal at  a separate  trial."   United  States v.
                                                          ______________

          Mart nez, 479  F.2d 824, 828  (1st Cir. 1973).   Jaime Catano has
          ________

          shown  no substantial prejudice.  Further, his reliance on Bruton
                                                                     ______

          is misplaced.  Bruton prevents the  admission at a joint trial of
                         ______

          one co-defendant's extrajudicial  statements implicating  another

          absent the opportunity for cross-examination, 391 U.S. at 135-36,

          a situation  not presented  here.  Jaime  Catano's three-sentence

          argument  leaves the  issue undeveloped  and,  therefore, waived.

          See United States v.  Zannino, 895 F.2d 1,  17 (1st Cir.),  cert.
          ___ _____________     _______                               _____

          denied, 494 U.S. 1082 (1990).
          ______

                      III.  JAIME CATANO'S MOTION TO PARTICIPATE
                      III.  JAIME CATANO'S MOTION TO PARTICIPATE
                            ____________________________________

                    Jaime Catano sought to participate in  Michael Murray's

          omnibus hearing  described in  Part I  of our  published opinion.

          Jaime  Catano contended  that Michael  Murray's bargain  with the

          government  would benefit Jaime Catano  as well.   He argues that

          his  participation  would  have   allowed  him  to  cross-examine

          witnesses as to the benefit which  he would receive from his  own

                                         -7-














          and from Michael  Murray's cooperation with  the government.   He

          further  argues that  he  could have  "threshed out"  discussions

          between himself  and the DEA  and "gleaned"  any information  the

          government  learned about him from Michael Murray.  At the motion

          hearing,  Jaime  Catano's  counsel  orally  moved  the  court  to

          intervene and  examine witnesses.  The district judge ruled, "I'm

          not going  to let you examine, but on the  other hand, you file a

          motion supported  by an affidavit  and I'll  deal with it."   The

          judge also stated that Jaime Catano had no standing to intervene.

          Later,  Jaime Catano's  counsel again orally  moved the  court to

          participate in the hearing.  Again the  judge stated, "I told you

          to make a motion.  I told you to support your motion.  You  get a

          motion.  I'll rule on it. . . . But two days have gone by, I have

          no  motion, the matter is between Mr. Murray and the government."

          After  the hearing  concluded and  the trial began,  Jaime Catano

          served  a "Motion for Relief"  on the government  with a two-page

          unsigned  affidavit attached  which  purported to  be from  Jaime

          Catano.  The motion  asked that the charges against  Jaime Catano

          be dismissed or, in the alternative, "that the agreement with the

          government   between  Catano,   Michael  Murray  and   the  other

          defendants be enforced."  Jaime Catano's "affidavit" alleged that

          a  DEA special  agent contacted  him and  urged him  to cooperate

          "which would  result in a sentence for me of less than five years

          since Michael Murray would  get no more than  five years for  his

          sentence."    The  affidavit  also  alleged  that  "when  Michael

          [Murray] told me that the government wasn't going to give him the


                                         -8-














          zero  to five year deal after he  set up the fentanyl lab, I told

          [the special agent] that he was going to have to give Michael and

          the  rest of  us our deal  if he  wanted me  to cooperate."   The

          affidavit  conspicuously  fails  to  allege  that   Jaime  Catano

          actually cooperated  or  detrimentally relied  in any  way.   The

          government  disputes that  this  motion and  affidavit were  ever

          filed in  the district court.   On appeal, Jaime  Catano does not

          argue  that the district court wrongfully denied the motion, only

          that the  district court  wrongfully denied him  participation in

          Michael Murray's hearing.

                    This argument fails for two  reasons:  (1) as discussed

          above, Jaime Catano did not timely move the court in writing  for

          participation in Michael Murray's hearing as the court requested;

          and (2) Jaime Catano had no standing to intervene as he had shown

          neither an agreement  intended to  benefit him directly  or as  a

          third-party  beneficiary,2 nor  any  cooperation  or  detrimental

          reliance on  his part.  See United States v. Lewis, 40 F.3d 1325,
                                  ___ _____________    _____

          1332  (1st Cir. 1994) (holding  that a criminal  defendant is not

          entitled  to an  evidentiary hearing  unless he  "allege[s] facts

          that, if proven, would entitle him to relief").  In  short, "[t]o

          mandate an  evidentiary hearing, the challenger's  attack must be

          more than conclusory  and must be supported  by more than a  mere

          desire  to cross-examine."  Franks v. Delaware, 438 U.S. 154, 171
                                      ______    ________


                              
          ____________________

          2   In  fact,  Michael Murray's  affidavit  and the  prosecutor's
          testimony both  indicate that any agreement  entered into between
          Michael Murray andthe government did not extend to Jaime Catano. 

                                         -9-














          (1978) (challenge to  the validity of  an affidavit supporting  a

          search warrant).  Jaime Catano's attack is neither.

                   IV.  LEONEL CATANO'S OBJECTION TO THE PROCEDURE
                   IV.  LEONEL CATANO'S OBJECTION TO THE PROCEDURE
                        __________________________________________
                              FOR PEREMPTORY CHALLENGES
                              FOR PEREMPTORY CHALLENGES
                              _________________________

                    Leonel Catano  argues that the district  court erred in

          its  management of  peremptory challenges  by reconstituting  the

          venire  after  Catano   had  already  exercised  his   peremptory

          challenges,  without permitting Catano a chance  to strike any of

          the new veniremen.

                    The court used a "jury  box" system of jury  selection.

          See  generally  8A  James  Wm. Moore,  Moore's  Federal  Practice
          ___  _________

            24.05[1]  (2d ed. Feb. 1995 rev.).   First, the court asked the

          entire  venire  questions to  determine  whether  there were  any

          reasons that particular  jurors could not be  impartial.  Several

          jurors were excused at this point, so that the venire dwindled to

          twenty-seven  people.    The  court announced  it  would  impanel

          fourteen  people--enough for  twelve jurors and  two alternates--

          then permit each side  to make peremptory challenges.   The court

          would refill the box with new veniremen to replace the challenged

          veniremen until  both sides  had used  their  challenges or  were

          satisfied  with  the  panel.   The  government  would have  seven

          peremptory challenges and  the defendants eleven.  Fed.  R. Crim.

          P. 24(b)  and (c).   The last two  jurors to  remain unchallenged

          would be  the alternates.  The government  exercised four strikes

          on the first  panel, then  the defendants exercised  seven.   The

          court filled the eleven seats left vacant by the strikes with new

          veniremen  for round two.   The defense challenged  four of these

                                         -10-














          eleven,  and  the government  challenged  two.   Thus,  after two

          rounds  a  total  of eight  jurors  had  been  selected, and  the

          defendants had used up all their challenges.

                    At this point there were not enough remaining veniremen

          to  refill the  jury  box.    Therefore,  the  court  called  the

          remaining two  veniremen into the  box, and the  government chose

          not to  challenge them.  Of  necessity, the court  called for new

          veniremen  to be  brought  in  from the  jury  pool.   Since  the

          defendants were  out of peremptory challenges  and the government

          declined to  exercise its remaining challenge, all  four of these

          new veniremen  were impaneled.  However,  the defendants objected

          to one  of  these jurors,  arguing  that they  had  no chance  to

          challenge  him.  The court replied that the defendants had simply

          used  up their  allotted number  of strikes,  and that  the court

          would not allow them extra challenges.

                    After the jury  had been  selected, there  was a  delay

          before trial  while  the court  conducted  motion hearings.    It

          happened that during this hiatus  the court had to excuse  two of

          the  jurors.  It decided  to impanel four  new alternates, making

          the two previous alternates deliberating  jurors.  The court gave

          each side two peremptory challenges to use on  this supplementary

          jury selection.

                    Leonel  Catano  argues  that  the  court's  system  was

          unfair, apparently because he had no opportunity to strike any of

          the  veniremen in the third  round of the  regular jury selection

          and these included new veniremen not in the original venire.  His


                                         -11-














          argument  is  unfounded.    The district  court  has  substantial

          discretion to  regulate the  use of peremptory  challenges within

          the framework of Federal  Rule of Criminal Procedure 24(b).   See
                                                                        ___

          United  States v. Cox, 752 F.2d 741,  748 (1st Cir. 1985).  After
          ______________    ___

          the initial  voir dire and before  the court filled the  jury box

          for the  first round,  the venire  had  dwindled to  twenty-seven

          people.   The court announced  at the outset  that the government

          and   defendants   together   would   have   eighteen  peremptory

          challenges.    Twelve  jurors  and two  alternates  were  needed.

          Simple arithmetic made it  apparent at the outset that  the court

          might have to  call more veniremen  to get  enough for the  jury.

          The defendants used up their peremptories on the original venire,

          without knowing who might  walk in the door next.  Having created

          their own predicament, they have no cause to complain.

                    Though  his argument  is  unclear,  Leonel Catano  also

          appears  to object to the court's procedure when events after the

          initial jury selection made it necessary to select more alternate

          jurors.  The  court announced  it would give  the defendants  two

          additional challenges  because of this new  development, but that

          the challenges could only be used on newly impanelled jurors, not

          those already seated.  Leonel Catano argues that the court should

          have permitted the  use of the new  challenges to strike the  old

          jurors, two of whom were initially designated  alternates but now

          would  be deliberating jurors.  The court did not anticipate that

          it would be necessary to  supplement the jury when the panel  was

          initially  chosen.  When  unexpected events made  it necessary to


                                         -12-














          impanel new alternates, there was no reason the court should have

          to open up the  existing panel to new challenges.  This  is not a

          case  like United States  v. Sams,  470 F.2d  751, 755  (5th Cir.
                     _____________     ____

          1972), in  which the  defendant was  surprised by an  unannounced

          rule that prevented him  from striking the first group  of jurors

          in later  rounds.   Here, the  defendants  understood the  system

          initially employed.  If  the court had not  impanelled additional

          alternates  (which  was  undoubtedly   in  its  discretion),  the

          remaining twelve jurors would  have deliberated and Leonel Catano

          would have no  argument.   Catano's complaint arises  out of  the

          fact that the court impanelled more alternates out of caution and

          Catano  wants to benefit from this chance occurrence by using the

          new  challenges  on   the  old  jurors.    Catano's  argument  is

          foreclosed  by  Fed. R.  Crim. P.  24(c),  which states  that the

          "additional peremptory challenges [given  when the court impanels

          alternates] may be  used against  an alternate juror  only."   We

          will  not   hamstring  the   district  courts  in   dealing  with

          unanticipated events  during trial.   The district court  did not

          abuse its discretion in the jury selection process. 

                 V.  LACK OF INSTRUCTION DEFINING "REASONABLE DOUBT"
                 V.  LACK OF INSTRUCTION DEFINING "REASONABLE DOUBT"
                     _______________________________________________

                    The appellants  argue that the district  court erred in

          refusing to instruct  the jury on  the definition of  "reasonable

          doubt"  in  his  instructions  to  the  jury.    This  court  has

          specifically held that the  district court has discretion whether

          to  define "reasonable doubt".  United States v. Cassiere, 4 F.3d
                                          _____________    ________

          1006, 1024-25  (1st Cir.  1993); United States  v. Olmstead,  832
                                           _____________     ________


                                         -13-














          F.2d 642, 644-46  (1st Cir.  1987), cert. denied,  486 U.S.  1009
                                              ____________

          (1988).   Moreover, we find support for  this rule in the Supreme

          Court's recent decision in  Victor v. Nebraska, 114 S.  Ct. 1239,
                                      ______    ________

          1248  (1994).  See United  States v. Neal,  36 F.3d 1190, 1202-03
                         ___ ______________    ____

          (1st Cir. 1994).  If the court instructs that the burden of proof

          is  "beyond a  reasonable  doubt,"  and  if  the  instruction  is

          prominent,  not  "buried  as  an  aside,"   there  is  no  error.

          Olmstead, 832 F.2d at 646.   The district court instructed on the
          ________

          requirement of proof beyond a  reasonable doubt many, many times,

          and with appropriate  gravity and  emphasis.  There  is no  error

          here.

          VI.  JAIME CATANO'S CONVICTION FOR CONTINUING CRIMINAL ENTERPRISE
          VI.  JAIME CATANO'S CONVICTION FOR CONTINUING CRIMINAL ENTERPRISE
               ____________________________________________________________

                    Jaime  Catano attacks  his  conviction  for  continuing

          criminal  enterprise  on  the  grounds  that  the court  did  not

          properly  instruct the jury on the elements of CCE and that there

          was insufficient evidence to convict him.

                    A.  Jury Instruction
                    A.  Jury Instruction

                    Jaime Catano contends that the district court failed to

          properly state the elements of the continuing criminal enterprise

          count against him in that it failed to state that  the continuing

          series  of crimes committed by the  defendant must be "related."3
                              
          ____________________

          3  The court's CCE instruction stated in relevant part:  

                      In order for Mr. Jaime Catano to be found
                      guilty    of   a    continuing   criminal
                      enterprise,  the  government  must  prove
                      five things beyond a reasonable doubt.

                           First,   that   Mr.   Jaime   Catano
                      committed  the  offenses  of  conspiracy,

                                         -14-














          Jaime Catano concedes that the standard of review is plain error,

          since he failed to object at trial.

                    The  instruction  comported   with  the  statutory  CCE

          requirement as it has  been defined in this circuit.   See United
                                                                 ___ ______

          States  v.  Chagra, 653  F.2d 26,  27-28  (1st Cir.  1981), cert.
          ______      ______                                          _____

          denied,  455 U.S. 907 (1982).  Jaime Catano's citation of Garrett
          ______                                                    _______

          v. United  States, 471 U.S. 773 (1985), does not convince us that
             ______________

          the  Supreme Court  has found  an  additional requirement  in the

          statute.  Other circuits have used the "related" language without

          discussion.   See, e.g., United States v. Phillips, 664 F.2d 971,
                        ___  ____  _____________    ________

          1013  (5th Cir. 1981), cert. denied, 457 U.S. 1136 (1982); United
                                 ____________                        ______

          States v. Jones, 801 F.2d 304, 307 (8th Cir. 1986).  However, the
          ______    _____

          lack of  controlling authority  and the  fact that the  predicate

          crimes  here were shown  by overwhelming  evidence to  be related

          anyway,  makes it impossible for us to find plain error resulting

          in a miscarriage of justice.

                    B.  Sufficiency of Evidence
                    B.  Sufficiency of Evidence

                    Jaime   Catano  also   contends  that   the  government

          presented insufficient evidence to convict him on the CCE  count.

          To convict  Jaime Catano  for engaging  in a  continuing criminal
                              
          ____________________

                      possessing   marijuana  with   intent  to
                      distribute  it, and  attempted possession
                      of  marijuana  with intent  to distribute
                      it, all  as charged, for the  counts that
                      charge him, in Counts 1, 2, 3 and 5.

                           Second,  that  these  offenses  were
                      part  of three or more offenses committed
                      by  Mr.  Jaime  Catano  over  a  definite
                      period  of  time  in  violation   of  the
                      federal narcotics laws. . . .

                                         -15-














          enterprise, the  government must prove beyond  a reasonable doubt

          that he:  (1) committed a felony  drug offense, (2) as  part of a

          "continuing  series of violations," (3) "in  concert with five or

          more other  persons" whom Jaime Catano  organized, supervised, or

          otherwise managed,  (4) and  from which he  obtained "substantial

          income or resources."   21 U.S.C.   848(c) (1988);  United States
                                                              _____________

          v. Hahn, 17 F.3d 502, 506 (1st Cir. 1994).  Jaime Catano contends
             ____

          only   that  insufficient   evidence  existed   to  satisfy   the

          "substantial income" requirement.4  

                    On  a sufficiency  of the evidence  claim, we  view the

          evidence  in the  light most  favorable to  the verdict.   United
                                                                     ______

          States v.  Torres-Maldonado, 14 F.3d  95, 100  (1st Cir.),  cert.
          ______     ________________                                 _____

          denied,   115  S.  Ct.  193   (1994).    The  substantial  income
          ______

          requirement is intended "to  exclude trivial amounts derived from

          occasional drug sales," United  States v. Roman, 870 F.2d  65, 75
                                  ______________    _____

          (2d  Cir.),  cert. denied,  490  U.S. 1109  (1989)  (citation and
                       ____________

          internal quotation  marks omitted),  quoted in Hahn,  17 F.3d  at
                                               _________ ____

          507,  and  may be  proven directly  (by  evidence of  revenue and

          resources)  or circumstantially  (by  evidence of  Jaime Catano's

          role in the  conspiracy and  the volume of  drugs the  conspiracy

          handled).  Hahn, 17 F.3d at  507.  The evidence "need not exclude
                     ____

          every reasonable hypothesis of innocence; that is, the factfinder

          may  decide among  reasonable interpretations  of the  evidence."
                              
          ____________________

          4   Jaime  Catano  appeals  both the  denial  of  his motion  for
          judgment  of  acquittal  and  the  sufficiency  of  the  evidence
          supporting  his conviction.    These challenges  "raise a  single
          issue,"  United States v.  Batista-Polanco, 927 F.2d  14, 17 (1st
                   _____________     _______________
          Cir. 1991); we address them as one.  

                                         -16-














          United States v. Batista-Polanco, 927 F.2d 14, 17 (1st Cir. 1991)
          _____________    _______________

          (citations omitted); Hahn, 17 F.3d at 506.
                               ____

                    Here, the conspiracy involved tons of marijuana, lasted

          several  years, and generated millions of dollars.5  The scale of

          the proven conspiracy along  with Jaime Catano's uncontested role

          in  it "provides  ample  basis for  a  reasonable inference  that

          [Jaime Catano] realized far more than  trivial amounts of income"

          from his involvement.  Hahn, 17 F.3d at 507.
                                 ____

                           VII.  MICHAEL MURRAY'S SENTENCE
                           VII.  MICHAEL MURRAY'S SENTENCE
                                 _________________________

                    Michael Murray argues that  the district court erred in

          sentencing him because:   (1) the court did not order  an offense

          level decrease  for his  acceptance of responsibility  under USSG

            3E1.1 (Nov. 1993);  and (2)  the court did  not order  specific

          performance  of the government's  "promise" in the  plea offer to

          depart downward for his alleged cooperation.

                    A.  Acceptance of Responsibility
                    A.  Acceptance of Responsibility

                    The sentencing court  has great discretion in  deciding

          whether to grant an  adjustment for acceptance of responsibility,

          United States v. Ruiz, 47 F.3d  452, 455 (1st Cir. 1995), because
          _____________    ____

          "[t]he sentencing judge  is in  a unique position  to evaluate  a

          defendant's  acceptance   of  responsibility."    USSG     3E1.1,
                              
          ____________________

          5     Witnesses   at  trial   detailed  the   transportation  and
          distribution  of six loads of marijuana from Texas to Boston over
          a  three year period.  Richard Baker described stashing and later
          retrieving a large  gym bag  stuffed with ten  and twenty  dollar
          bills.     He  then  left  Murray  and  Jaime  Catano  alone  for
          approximately half an hour, after which  Michael Murray and Jaime
          Catano drove away with the bag and its contents.  Other witnesses
          testified that the DEA seized $1,149,650 from the tractor-trailer
          used in the conspiracy.  

                                         -17-














          comment.  (n.5).   We  review  that evaluation  for  clear error.

          Ruiz,  47  F.3d  at 455.    See  USSG     3E1.1,  comment.  (n.5)
          ____                        ___

          (sentencing judge entitled to "great deference on review").

                    Guideline  section  3E1.1  serves  two  purposes:    to

          recognize  sincere remorse and  to reward a  defendant for saving
                                     ___

          the government  the trouble and  expense of proceeding  to trial.

          Ruiz,  47  F.3d  at  455; USSG     3E1.1,  comment.  (n.2).   The
          ____

          guideline  commentary  notes  that   "[i]n  rare  situations,"  a

          defendant  can proceed  to trial  and receive  a reduction  under
                                            ___

          section 3E1.1.   USSG    3E1.1, comment.  (n.2).  For  example, a

          defendant may receive a reduction after going to trial "to assert

          and preserve issues that do not relate to factual guilt (e.g.  to
                                                                   ____

          make  a constitutional challenge to  a statute or  a challenge to

          the applicability of a statute  to his conduct)."  Ruiz, 47  F.3d
                                                             ____

          at  455.  Here, however, Michael Murray did not plead guilty, but

          rather tried his case "on the basis of reasonable doubt," Michael

          Murray's  Br. at 42, thus contesting  his factual guilt.  We will

          generally sustain a district court's refusal to grant a reduction

          for  acceptance of  responsibility  when the  defendant does  not

          plead guilty.  Ruiz, 47 F.3d at 456.  We do so here.
                         ____

                    B.  Substantial Assistance
                    B.  Substantial Assistance

                    Michael  Murray next  argues  that  the district  court

          erred in denying his request for a downward departure due to  his

          substantial assistance  to the government.   USSG     5K1.1, p.s.

          (Nov.  1993).  He contends  that either the  government should be

          compelled  to  file   a  5K1.1  motion  because  of   his  actual


                                         -18-














          assistance,  or that the district court should have deemed such a

          motion filed despite government inaction.  Both arguments fail.

                    Section  5K1.1 conditions  departure upon  a government

          motion.   This  condition "gives  the Government  a power,  not a

          duty,  to   file  a  motion  when   defendant  has  substantially

          assisted."  Wade v. United States, 504 U.S. 181, 185 (1992).  See
                      ____    _____________                             ___

          United States v. Raineri, 42 F.3d 36, 44 (1st Cir. 1994) (holding
          _____________    _______

          that because a 5K1.1 motion is discretionary, "the government may

          choose to insist on  quite a lot of assistance if  it wants to do

          so"),  cert.  denied,  115   S.  Ct.  2286  (1995).     Absent  a
                 _____________

          "substantial threshold showing" of  unconstitutional governmental

          motive for  refusal  to file  a  5K1.1 motion,  "a  claim that  a

          defendant merely provided substantial assistance will not entitle

          a defendant to a remedy."  Wade, 504 U.S. at 186.  Michael Murray
                                     ____

          has alleged no unconstitutional  motive and is not entitled  to a

          remedy for the government's refusal to file a 5K1.1 motion.

                    Finally, Michael Murray  argues that his assistance  to

          the  government  was  to  a degree  "not  adequately  taken  into

          consideration by the Sentencing Commission."  USSG   5K2.0,  p.s.

          (Nov.  1993).  We have  held that "it  is theoretically possible,

          albeit  unlikely"  that  substantial   assistance  would  be   an

          extraordinary mitigating circumstance within the ambit of section

          5K2.0.  United States v. Romolo, 937 F.2d 20, 25 (1st Cir. 1991).
                  _____________    ______

          However,  this   is  not   "the  rare  case   where  governmental

          intractability in the face of overwhelming evidence of enormously

          fruitful  cooperation might  fairly be  said  to have  deprived a


                                         -19-














          defendant  of his due."   United States  v. La Guardia,  902 F.2d
                                    _____________     __________

          1010, 1018  (1st Cir.  1990) (refusing  to depart  downward under

          section 5K1.1 although defendants cooperated where government did

          not file  motion).   In sentencing  Michael Murray, the  district

          court  recognized its  authority  to depart  below the  guideline

          range,  but declined to do so.   That decision is not appealable.

          United  States v.  Field, 39 F.3d  15, 21 (1st  Cir. 1994), cert.
          ______________     _____                                    _____

          denied, 115 S. Ct. 1806 (1995).
          ______






































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